                   UNITED STATES DISTRICT COURT
          WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION


THURMAN KING,                                       Case No.

                                                    Honorable

            Plaintiff,

v.

CITY OF ROCKFORD,
ROCKFORD DEPARTMENT OF PUBLIC SAFETY,
OFFICER ZACHARY ABBATE (individually),
OFFICER JASON BRADLEY (individually),

            Defendants.
_____________________________________________________________________________/

 Stephen R. Drew (P24323)
 Adam C. Sturdivant (P72285)
 DREW, COOPER & ANDING
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_____________________________________________________________________________/


            THERE IS NO OTHER CIVIL ACTION BETWEEN THESE PARTIES ARISING
            OUT OF THE SAME TRANSACTION OR OCCURRENCE AS ALLEGED IN
            THIS COMPLAINT PENDING IN THIS COURT, NOR HAS ANY ACTION
            BEEN PREVIOUSLY FILED AND DISMISSED OR TRANSFERRED AFTER
            HAVING BEEN ASSIGNED TO A JUDGE.



                         COMPLAINT AND JURY DEMAND
                             COMPLAINT AND JURY DEMAND

       Plaintiff Thurman King, by and through his attorneys DREW COOPER & ANDING,

alleges and states as follows:

                                         JURISDICTION

1.     This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the Fourth and

       Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon

       28 U.S.C. § 1331 and § 1343(a) (1), (2), (3), and (4) and the aforementioned statutory and

       constitutional provisions, as this action seeks redress for the violation of Plaintiff’s

       constitutional and civil rights

2.     Plaintiff further invokes the supplemental jurisdiction of this Court, pursuant to 28 U.S.C.

       § 1367(a) to hear and decide claims arising under state law that are so related to the claims

       within the original jurisdiction of this Court that they form part of the same case or

       controversy.

3.     The claims brought are cognizable under the United States Constitution and 42 U.S.C. §

       1923 and under Michigan Law.

4.     Venue is proper in the United States District Court for the Western District of Michigan,

       pursuant to 28 U.S.C. § 1391 (b)(2), in that this is the judicial district in which the events

       giving rise to the claim occurred.

5.     The amount in controversy exceeds $75,000.00 excluding interest and costs.

                                            PARTIES

6.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.




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7.    Plaintiff Thurman King is a 55-year-old African American citizen of the United States and

      was at all relevant times a resident of the City of Rockford in the County of Kent, State of

      Michigan (hereinafter “Plaintiff”).

8.    Defendant City of Rockford is a municipal corporation located in the County of Kent, State

      of Michigan, and is a governmental body organized and existing under the constitution and

      laws of the State of Michigan and conducting business within the territorial limits of the

      United States District Court of the Western District of Michigan.

9.    Defendant Rockford Department of Public Safety is a department of Defendant City of

      Rockford, and is a governmental body organized and existing under the constitution and

      laws of the State of Michigan and conducting business within the territorial limits of the

      United States District Court of the Western District of Michigan.

10.   Defendant Zachary Abbate, an officer for the City of Rockford Department of Public

      Safety, was at all relevant times an agent, employee, or representative of Defendants City

      of Rockford and/or Rockford Department of Public Safety and is sued individually.

11.   Defendant Jason Bradley, an officer for the City of Rockford Department of Public Safety,

      was at all relevant times an agent, employee, or representative of Defendants City of

      Rockford and/or Rockford Department of Public Safety and is sued individually.

12.   At all relevant times, Defendants were acting under color of law, including under color of

      the statutes, ordinances, regulations, policies, customs, and usages of the City of Rockford,

      County of Kent, State of Michigan.

                                FACTUAL ALLEGATIONS

13.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

      paragraphs.




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14.    This is an action for money damages against Defendant City of Rockford, Defendant

       Rockford Department of Public Safety, Defendant Abbate, individually, and Defendant

       Jason Bradley, individually, for violating Plaintiff’s constitutional rights and other rights

       accorded him by common and statutory law.

15.   On March 20, 2019, at approximately 11:00 p.m. Plaintiff was driving in the city of

      Rockford toward his residence.

16.   Defendant Abbate, who was on duty, began following Plaintiff in his service vehicle.

17.   Plaintiff was not driving under the influence of alcohol, illegal drugs, or prescription drugs.

18.   Plaintiff, while traveling northbound on River Street, came to a full stop at a stop sign

      located at the intersection of Bridge Street and River Street.

19.   Despite the fact that Plaintiff had not committed any observable traffic violations,

      Defendant Abbate began following Plaintiff’s vehicle.

20.   After coming to a full stop at the intersection of Bridge Street and River Street, Plaintiff

      kept traveling in his vehicle toward his residence.

21.   At some point, Defendant Abbate activated his light.

22.   Unsure of why the police were following him, Plaintiff parked his vehicle at his residence

      and exited his vehicle.

23.   Upon initial contact with Plaintiff, Defendant Abbate stated Plaintiff, “You know I know

      you, right.”

24.   Defendant Abbate stated to Plaintiff that he was pulling Plaintiff over for having an

      inoperable license plate light and for failing to come to a complete stop at the stop sign

      located at the intersection of Bridge Street and River Street.




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25.   Recalling that he had made a full stop, Plaintiff became fearful of the officer’s intent and

      what was going to transpire because Defendant Abbate was being untruthful about

      Plaintiff’s driving behavior.

26.   Defendant Abbate’s police vehicle was equipped with a dash cam.

27.   The alleged inoperable license plate light was not visible on Defendant Abbate’s dash

      camera.

28.   However, the dash cam recording does show that Plaintiff’s vehicle came to a full stop at

      the intersection of Bridge Street and River Street.

29.   Defendant Abbate also accused Plaintiff of smelling like marijuana and requested that

      Plaintiff submit to a chemical test.

30.   Plaintiff refused the chemical test.

31.   At some point, Defendant Bradley arrived on scene while Defendant Abbate was

      questioning Plaintiff.

32.   Given the presence of two officers, and the allegations that Defendant Abbate was lodging

      against Plaintiff, Plaintiff became even more fearful and attempted to yell for his fiancée

      who was in their residence.

33.   Defendants Abbate and Bradley grabbed Plaintiff and swung him around, preventing him

      from yelling for his fiancée.

34.   Plaintiff was then thrown to the ground of his driveway by Defendants Abbate and Bradley.

35.   Plaintiff was arrested and detained by Defendants Abbate and Bradley.

36.   Defendants Abbate and Bradley took Plaintiff to the Kent County Jail where he was

      unlawfully detained for approximately 14 hours.

37.   While he was detained at the Kent County Jail, Plaintiff submitted to a blood draw.




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38.   The results of the blood draw did not reveal the presence of alcohol in Plaintiff’s system.

39.   Upon release from the Kent County Jail, Plaintiff sought treatment at an emergency room

      where he was diagnosed with a head injury, left elbow sprain, abrasion, and neck strain.

40.   On approximately May 9, 2019, Plaintiff was charged criminally with one felony and two

      misdemeanors including:

      a)      Assaulting/Resisting/Obstructing a Police Officer (Felony);

      b)      Operating While Intoxicated (Misdemeanor); and,

      c)      Alcohol-Open Container in Vehicle (misdemeanor).

41.   Plaintiff pleaded not guilty to all charges.

42.   Plaintiff was forced to hire a criminal defense attorney to defend the unlawful and

      unwarranted criminal charges against him.

43.   In approximately late June 2019, the Kent County Prosecutor’s Office reviewed the dash

      camera footage of Plaintiff’s unlawful arrest.

44.   On July 2, 2019, the Kent County Prosecutor’s Office filed a Motion of Nolle Prosequi and

      moved to dismiss the criminal charges in the “interest of justice.”

45.   The Motion was granted, and the criminal charges were dismissed on July 2, 2019.

46.   As a result of the unlawful stop, Plaintiff was unreasonably seized at his residence which

      led to an escalation of events and Plaintiff’s false arrest.

47.   As a result of the unlawful stop, which led to Plaintiff’s false arrest, Plaintiff was

      unlawfully incarcerated.

48.   As a result of the unlawful stop and seizure, false arrest, and related criminal prosecution,

      Plaintiff missed approximately 45 days of work resulting in wage loss.




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49.   As a result of the false arrest and related criminal prosecution, Plaintiff was also forced to

      pay a fine for his refusal to take a chemical test.

                                     COUNT I
                                  42 U.S.C. § 1983
                        FALSE ARREST/FALSE IMPRISONMENT
                         DEFENDANTS ABBATE AND BRADLEY

50.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

      paragraphs.

51.   Plaintiff has a clearly established right under the Fourth and Fourteenth Amendments to the

      U.S. Constitution to be free from unreasonable seizures of his person.

52.   Plaintiff was stopped for an alleged routine traffic violation.

53.   The alleged traffic violations were unsubstantiated by video (dash cam) evidence.

54.   Defendants’ unreasonable seizure of Plaintiff after an unlawful and unsubstantiated stop

      escalated events that transpired which led to Defendants Abbate and Bradley arresting

      Plaintiff without probable cause or a reasonable belief that Plaintiff was committing a crime.

55.   Defendants Abbate and Bradley’s acts were objectively unreasonable.

56.   On March 20, 2019, Defendants Abbate and Bradley acted in a deliberate, grossly

      negligent, and/or reckless manner when they executed a false, stop (Defendant Abbate),

      seizure, and arrest (Defendants Abbate and Bradley) against Plaintiff.

57.   Defendants Abbate and Bradley, in subjecting Plaintiff, to the false stop (Defendant Abbate),

      seizure, and arrest (Defendants Abbate and Bradley) and the deprivations of his constitutional

      and federal rights maliciously, acted with callous or reckless disregard, and deliberate

      indifference as to whether Plaintiff’s rights would be violated by their actions.




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58.   As a direct and proximate result of Defendants' actions, Plaintiff was deprived of rights,

      privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

      Constitution and the laws and Constitution of the State of Michigan.

59.   As a direct and proximate result of the aforementioned actions and inactions by

      Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

      shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

      personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

      damages known and unknown.

                                   COUNT II
                                42 U.S.C. § 1983
                            MUNICIPAL LIABILITY
                      DEFENDANTS CITY OF ROCKFORD AND
                    ROCKFORD DEPARTMENT OF PUBLIC SAFETY

60.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

      paragraphs.

61.   This count is alleged against Defendants City of Rockford and Rockford Department of Public

      Safety

62.   Defendants City of Rockford and/or Rockford Department of Public Safety have the ultimate

      responsibility and authority to train and supervise officers of the City of Rockford Department

      of Public Safety regarding the appropriate policies and procedures to use to execute a traffic

      stop.

63.   Defendants City of Rockford and/or Rockford Department of Public Safety have the ultimate

      responsibility and authority to train and supervise officers of the Rockford Department of

      Public Safety regarding the appropriate policies and procedures to implement to reduce and

      eliminate implicit or unconscious bias.




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64.   Defendants City of Rockford and/or Rockford Department of Public Safety have the ultimate

      responsibility and authority to train and supervise officers of the Rockford Department of

      Public Safety regarding the appropriate policies and procedures to use to reduce and eliminate

      racial profiling.

65.   Defendants City of Rockford and/or Rockford Department of Public Safety has the ultimate

      responsibility and authority to investigate the false stop, seizure, and arrest of Plaintiff and the

      circumstances leading to his false arrest including all those involved such as Defendants

      Abbate and Bradley.

66.   Defendants City of Rockford and/or Rockford Department of Public Safety as a matter of

      custom, policy and and/or practice, failed to adequately and properly investigate the false

      stop, seizure, and arrest of Plaintiff and failed to perform a thorough investigation into all

      the events relating to the false arrest and any other constitutional, statutory, or common

      law violations of Plaintiff’s rights.

67.   Defendants City of Rockford and/or Rockford Department of Public Safety, tolerated,

      authorized and/or permitted a custom, policy, practice and/or procedure of using traffic

      stops in an improper manner so as to bully, harass, or otherwise inconvenience private

      citizens.

68.   Defendants City of Rockford and/or Rockford Department of Public Safety, tolerated,

      authorized and/or permitted a custom, policy, practice and/or procedure of improper stops

      and stops based on racial profiling.

69.   Defendants City of Rockford and/or Rockford Department of Public Safety, tolerated,

      authorized and/or permitted a custom, policy, practice and/or procedure of improper stops

      and stops based on implicit or unconscious bias.




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70.   Defendants City of Rockford and/or Rockford Department of Public Safety failed to

      thoroughly review and investigate all policies, practices, procedures, and training materials

      related to the circumstances surrounding the false stop, seizure, and arrest of Plaintiff.

71.   Defendants City of Rockford and/or Rockford Department of Public Safety failed to train its

      officers, including Defendants Abbate and Bradley regarding the aforementioned policies.

72.   Defendants City of Rockford and/or Rockford Department of Public Safety is liable for the

      damages Plaintiff suffered as a result of the conduct of their employees, agents, and servants,

      in that after learning of their employees' violation of Plaintiff’s constitutional rights, they

      failed to remedy the wrong.

73.   Defendants City of Rockford and/or Rockford Department of Public Safety created a policy

      or custom under which unconstitutional practices occurred and were allowed to continue.

74.   Defendants City of Rockford Department of Public Safety have been grossly negligent in

      managing subordinates who caused the unlawful condition or event, including the false stop,

      seizure, and arrest of Plaintiff.

75.   Defendants City of Rockford and/or Rockford Department of Public Safety are responsible

      for the violation of Plaintiff’s constitutional rights because Defendants City of Rockford

      and/or were deliberately indifferent to a custom, pattern, practice, or policy of allowing

      officers to racially profile citizens, exhibit implicit or unconscious bias, execute unlawful

      or unwarranted traffic stops, or otherwise engage in conduct resulting in the violation of

      constitutional, statutory, or common law rights of private citizens.

76.   Defendants City of Rockford and/or Rockford Department of Public Safety are responsible

      for the violation of Plaintiff’s constitutional rights because Defendants City of Rockford

      and/or Rockford Department of Public Safety were deliberately indifferent in failing to train,




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      supervise, and discipline officers, including Defendants Abbate and Bradley, who engage

      in such aforementioned misconduct.

77.   By the aforementioned actions and/or inactions, Defendants City of Rockford and/or

      Rockford Department of Public Safety, as a matter of custom, policy and practice, deprived

      Plaintiff of rights secured by the Fourth and Fourteenth Amendments to the United States

      Constitution as well as violations under 42 U.S.C. § 1983.

78.   As a direct and proximate result of Defendant’s actions, Plaintiff was deprived of rights,

      privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

      Constitution and the laws and Constitution of the State of Michigan.

79.   As a direct and proximate result of the aforementioned actions and inactions by

      Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

      shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

      personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

      damages known and unknown.

                                         COUNT III
                                       42 U.S.C. § 1983
                                 SUBSTANTIVE DUE PROCESS
                                     ALL DEFENDANTS

80.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

      paragraphs.

81.   In practice, Defendants City of Rockford and/or Rockford Department of Public Safety have

      used its officers to bully, harass, and deprive private citizens of their civil liberties.

82.   Defendants City of Rockford and/or Rockford Department of Public Safety used Defendants

      Abbate and Bradley to interfere with Plaintiff’s property interest and his liberty interest which

      entitle Plaintiff the right to bodily integrity.



                                                   10
83.   Defendants’ conduct, either in their individual or collective acts to this abusive

      environment, caused Plaintiff to be detained unlawfully under the color of law grossly

      depriving him of fundamental liberty interests.

84.   In addition to the violations of Plaintiff’s liberty interests, Defendants also denied Plaintiff

      an opportunity to call his fiancée when he was taken into custody, depriving Plaintiff of

      additional Due Process rights.

85.   Defendants have ignored procedural and substantive Due Process requirements in an

      unlawful campaign to harass, punish, and bully private citizens who they suspect of minor

      traffic violations/criminal activities despite an absence of probable cause and evidence.

86.   The municipal Defendants have trained their officers and have implemented a policy of

      transforming ordinary traffic stops into invasive searches and seizures, flouting

      constitutional requirements related to private property and liberty interests.

87.   Defendants’ actions intentionally and willfully deprived Plaintiff of his property interests

      and Plaintiff’s liberty interests without due process of law and without recourse for the

      arbitrary, abusive, and harassing, conduct of Defendants.

88.   Defendants’ actions proximately caused damages to Plaintiff as previously and

      subsequently alleged.

89.   Defendants acted willfully, knowingly and/or purposefully, and with deliberate

      indifference to deprive Plaintiff of his constitutional rights.

90.   Due to the nature of Defendants’ conduct, Plaintiff is entitled to recover punitive damages

      against the individual Defendants.




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91.   As a direct and proximate result of Defendants' actions, Plaintiff was deprived of rights,

      privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

      Constitution and the laws and Constitution of the State of Michigan.

92.   As a direct and proximate result of the aforementioned actions and inactions by

      Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

      shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

      personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

      damages known and unknown.

                         SUPPLEMENTAL STATE LAW CLAIMS

                                  COUNT IV
                      MICHIGAN CONSTITUTION ARTICLE I, § 11
                                FALSE ARREST
                        DEFENDANTS ABBATE AND BRADLEY

93.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

      paragraphs.

94.   Plaintiff has a clearly established right under the Michigan Constitution to be free from

      unreasonable seizures of his person.

95.   Plaintiff was stopped for an alleged routine traffic violation.

96.   Defendant Abbate stopped Plaintiff without probable cause or a reasonable belief that Plaintiff

      was committing a crime.

97.   Defendants Abbate and Bradley seized and arrested Plaintiff without probable cause or a

      reasonable belief that Plaintiff was committing a crime.

98.   Defendants Abbate and Bradley’s acts were objectively unreasonable.




                                                 12
99.    On March 20, 2019, Defendants Abbate and Bradley acted in a deliberate, grossly

       negligent, and/or reckless manner when they executed a false stop (Defendant Bradley),

       seizure, and arrest (Defendants Abbate and Bradley) against Plaintiff.

100.   Defendants Abbate and Bradley, in subjecting Plaintiff, to the false stop (Defendant Bradley),

       seizure, and arrest (Defendants Abbate and Bradley) and the deprivations of his constitutional

       and federal rights maliciously, acted with callous or reckless disregard, and deliberate

       indifference as to whether Plaintiff’s rights would be violated by their actions.

101.   As a direct and proximate result of Defendants' actions, Plaintiff was deprived of rights,

       privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

       Constitution and the laws and Constitution of the State of Michigan.

102.    As a direct and proximate result of the aforementioned actions and inactions by

        Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

        shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

        personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and

        other damages known and unknown.

                                     COUNT V
                        MICHIGAN CONSTITUTION ARTICLE I, § 17
                                   DUE PROCESS
                                 ALL DEFENDANTS

103.    Plaintiff realleges and incorporates by reference the allegations contained in the previous

        paragraphs.

104.   In practice, Defendant City of Rockford and/or Rockford Department of Public Safety have

       used its officers to bully, harass, and deprive private citizens of their civil liberties.




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105.   Defendants City of Rockford and/or Rockford Department of Public Safety used Defendants

       Abbate and Bradley to interfere with Plaintiff’s property interest and his liberty interest which

       entitles Plaintiff the right to bodily integrity.

106.   Defendants’ conduct, either in their individual or collective acts to this abusive

       environment, caused Plaintiff to be detained unlawfully under the color of law grossly

       depriving him of fundamental liberty interests.

107.   In addition to the obvious violations of Plaintiff’s liberty interests, Defendants also denied

       Plaintiff an opportunity to call his fiancée when he was taken into custody, depriving

       Plaintiff of additional Due Process rights.

108.   Defendants have ignored procedural and substantive Due Process requirements in an

       unlawful campaign to harass, punish, and bully private citizens who they suspect of minor

       traffic violations/criminal activities despite an absence of probable cause and evidence.

109.   The municipal Defendants have trained their officers and have implemented a policy of

       transforming ordinary traffic stops into invasive searches and seizures, flouting

       constitutional requirements related to private property and liberty interests.

110.   Defendants’ actions intentionally and willfully deprived Plaintiff of his property interests

       and Plaintiff’s liberty interests without due process of law and without recourse for the

       arbitrary, abusive, and harassing, conduct of Defendants.

111.   Defendants’ actions proximately caused damages to Plaintiff as previously and

       subsequently alleged.

112.   Defendants acted willfully, knowingly and/or purposefully, and with deliberate

       indifference to deprive Plaintiff of his constitutional rights.




                                                    14
113.   Due to the nature of Defendants’ conduct, Plaintiff is entitled to recover punitive damages

       against the individual Defendants.

114.   As a direct and proximate result of Defendants' actions, Plaintiff was deprived of rights,

       privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

       Constitution and the laws and Constitution of the State of Michigan.

115.   As a direct and proximate result of the aforementioned actions and inactions by

       Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

       shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

       personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

       damages known and unknown.

                                     COUNT VI
                                    NEGLIGENCE
                           DEFENDANTS ABBATE AND BRADLEY

116.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

117.   Defendants Abbate and Bradley had a common law duty to act reasonably at all times when

       they were interacting with Plaintiff on March 20, 2019.

118.   Defendant Abbate and Bradley failed to act reasonably as they carried out their tasks and

       responsibilities granted to them by Defendants City of Rockford and/or Rockford Department

       of Public Safety.

119.   At all relevant times and places, Defendants Abbate and Bradley were agents of Defendants

       City of Rockford and/or Rockford Department of Public Safety.

120.   At all relevant times, Defendants were acting in the course and scope of their employment

       with Defendants City of Rockford and/or Rockford Department of Public Safety and within




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       the scope of their authority as law enforcement officers of the Defendant Rockford

       Department of Public Safety, a division/department of Defendant City of Rockford.

121.   Defendants Abbate and Bradley breached the duties owed to Plaintiff and were grossly

       negligent as that term is used and defined in MCL 691.1407(2)(c), when they conducted

       themselves by actions described above, said acts having been committed with reckless

       disregard for Plaintiff’s health, safety, Constitutional, statutory, and common law rights.

122.   Defendants Abbate and Bradley’s conduct rose to the level of gross negligence that was the

       proximate cause of Plaintiff’s injury (MCL 691.1407(2)).

123.   Defendants Abbate and Bradley owed Plaintiff a duty to protect and uphold his federal and

       state constitutional, statutory, and common law rights.

124.   Defendants Abbate and Bradley failed to act in a manner that would protect, uphold, and

       respect Plaintiff’s Constitutional, statutory, and common law rights to:

       a)      Be free from unreasonable seizures of his person;

       b)      Be free from false stops, seizures, and arrests;

       c)      Be free from being physically assaulted and battered;

       d)      Due process of law; and,

       e)      Other federal and state constitutional, statutory, and common law rights.

125.   Contrary to the duties owed to Plaintiff at the above time and place, Defendants were grossly

       negligent and breached said duties and violated Plaintiff’s federal and state constitutional and

       statutory rights.

126.   Due to Defendants Abbate and Bradley’s gross negligence, they should not be afforded

       statutory immunity under the Michigan Governmental Tort Liability Act (MCL 691.1407, et

       al.).




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127.   As a direct and proximate result of Defendants' gross negligence, Plaintiff was deprived of

       rights, privileges, and immunities under the Fourth and Fourteenth Amendments of the United

       States Constitution and the laws and Constitution of the State of Michigan.

128.   As a direct and proximate result of the aforementioned actions and inactions by

       Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

       shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

       personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

       damages known and unknown.

                                    COUNT VII
                                ASSAULT & BATTERY
                          DEFENDANTS ABBATE AND BRADLEY

129.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

130.   Defendants Abbate and Bradley committed, or acted in concert to commit, acts which

       caused the Plaintiff to be apprehensive that Defendants would subject him to an imminent

       battery and/or intentional invasions of his rights to be free from offensive and harmful

       contact.

131.   Defendants engaged in conduct that demonstrated that the Defendants had a present ability

       to subject Plaintiff to an immediate, intentional, offensive and harmful touching.

132.   Plaintiff did not consent to such conduct, which caused injury, damage, loss, and/or harm.

133.   The acts described herein constitute assault and battery, actionable under the laws of the

       State of Michigan.

134.   Defendants committed, or acted in concert to commit, acts, which resulted in harmful or

       offensive contact with the Plaintiff’s body.




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135.   As a direct and proximate result of Defendants' actions, Plaintiff was deprived of rights,

       privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

       Constitution and the laws and Constitution of the State of Michigan.

136.   As a direct and proximate result of the aforementioned actions and inactions by

       Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

       shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

       personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

       damages known and unknown.

                                           COUNT VII
                                      FALSE IMPRISONMENT
                                        ALL DEFENDANTS

137.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

138.   Defendants intentionally arrested and confined Plaintiff without consent, and without

       reasonable or probable cause.

139.   Defendant knew, or should have known, they had no lawful authority to detain Plaintiff.

140.   Though Plaintiff was charged criminally, all criminal charges brought against Plaintiff

       were dropped in their entirety upon review of the dash cam video taken the evening of

       Plaintiff’s unlawful arrest.

141.   Defendants’ conduct constituted false imprisonment of Plaintiff.

142.   As a direct and proximate result of Defendants' actions, Plaintiff was deprived of rights,

       privileges, and immunities under the Fourth and Fourteenth Amendments of the United States

       Constitution and the laws and Constitution of the State of Michigan.




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143.   As a direct and proximate result of the aforementioned actions and inactions by

       Defendants, Plaintiff sustained injuries including but not limited to, mental anguish, fright,

       shock, embarrassment, humiliation, mortification, damage to reputation, disruption of

       personal life, loss of enjoyment of the ordinary pleasures of living, loss of wages, and other

       damages known and unknown.

                                           DAMAGES

144.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

145.   As a direct and proximate result of Defendants’ actions and/or inactions stated above,

       Plaintiff suffered the following injuries and damages:

       a)     Violation of his rights pursuant to the Fourth and Fourteenth Amendments to the

              United States Constitution to be free from an unreasonable search and seizure of

              his person;

       b)     Violation of the right to Due Process of Law under the Fourteenth Amendment to

              the United States Constitution;

       c)     Violation of his rights under the Michigan Constitution under Article I, § 11 to be

              free from an unreasonable search and seizure of his person;

       d)     Violation of his rights under the Michigan Constitution under Article I, § 17 to due

              process;

       e)     Physical pain and suffering;

       f)     Emotional trauma and suffering, including fear, embarrassment, humiliation,

              emotional distress, frustration, extreme inconvenience, anxiety, and other;

       g)     Lost wages;




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        h)      Medical expenses;

        i)      Expenses related to payment of fines and attorney fees related to the criminal

                prosecution; and,

        j)      Loss of liberty.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiff Thurman King, respectfully requests this Court and the finder of

fact to enter a Judgment in Plaintiff’s favor and against Defendants on all counts in an amount

consistent with the proofs of trial, and seeks against Defendants all appropriate damages arising

out of law, equity, and fact for each or all of the above counts where applicable and hereby requests

that the trier of fact, be it judge or jury, award Plaintiff all applicable damages, including but not

limited to compensatory, special, exemplary and/or punitive, in whatever amount the Plaintiff is

entitled, and all other relief arising out of law, equity and fact, also including but not limited to:

        a)      Actual and Compensatory damages in an amount to be determined as fair and just
                under the circumstances, by the trier of fact including, but not limited to medical
                expenses, wage loss, expenses related to payment of fines and attorney fees related
                to the criminal prosecution, mental anguish, anxiety, humiliation and
                embarrassment, violation of Plaintiff’s Constitutional rights, and other damages to
                be proved;

        b)      Punitive and/or exemplary damages in an amount to be determined as reasonable
                or just by the trier of fact;

        c)      Reasonable attorney fees, interest and costs; and

        d)      Equitable or injunctive relief sufficient to protect Plaintiff from any ongoing or
                future harassment and intimidation from Defendants;

        e)      Any such other and further relief as the Court deems reasonable, just, and proper.

                                                        Respectfully submitted,

Dated: March 19, 2021                                   By:   /s/ Stephen R. Drew
                                                               Stephen R. Drew (P24323)
                                                               Adam C. Sturdivant (P72285)


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                                        JURY DEMAND

       Plaintiff Thurman King, by and through his attorneys, DREW COOPER & ANDING,

demands a trial by jury on all claims set forth above.

                                                     Respectfully submitted,



Dated: March 19, 2021                                By:   /s/ Stephen R. Drew
                                                            Stephen R. Drew (P24323)
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